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 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                             Case No. 2:12-CR-0051 MCE
12                                Plaintiff,
                                                           STIPULATION REGARDING
13   v.                                                    EXCLUDABLE TIME PERIODS
                                                           UNDER SPEEDY TRIAL ACT;
14   VALENTINA BEKNAZAROV, et al.,                         FINDINGS AND ORDER
15                                Defendants,
16
17                                              STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants, by
19
     and through their counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for a status conference on May 16, 2013 at 9:00
21
     a.m.
22
23          2.      By this stipulation, defendants move to continue the status conference until May 23,

24 2013, at 9:00 a.m. and to exclude time between May 16, 2013 and May 23, 2013 under Local Code
25 T4. Plaintiff does not oppose this request.
26          3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      The government has provided defense counsel with the discovery associated with this
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     case, which includes voluminous records, including mortgage and bank records involving multiple
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     transactions. All of this discovery has been either produced directly to counsel and/or made
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 3 available for inspection and copying, and/or will be made available.
 4          b.      Counsel for defendants have been reviewing these materials, discussing them with
 5 their clients, and assessing potential trial and sentencing issues.
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            c.      Additionally, the government has provided proposed plea agreements to Valentina
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     and Anatoliy Beknazarov, which defense counsel have been discussing with their clients and the
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     government. Further, counsel for Anatoliy Beknazarov is currently in trial on another matter, and he
 9
10 is therefore unable to attend the hearing set for May 16, 2013.
11          d.      Defense counsel need additional time, taking into account the exercise of due

12 diligence, to review the materials described above and to discuss them with their clients, and
13 otherwise effectively prepare for the disposition of this case. Based on the Court’s available
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     calendars and the availability of defense counsel, the parties ask that the Court set this matter for a
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     status conference on May 23, 2013, at 9:00 a.m. and that it find excludable time from May 16, 2013
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     through and including the May 23, 2013 status conference. Because of the need for additional
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18 preparation outlined above, a denial of a continuance to May 23, 2013 would deny the parties the

19 reasonable time necessary for effective preparation, taking into account the exercise of due
20 diligence.
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            e.      Based on the above-stated findings, the ends of justice served by continuing the case
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     and excluding time as requested outweigh the interest of the public and the defendants in a trial
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     within the original date prescribed by the Speedy Trial Act.
24
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
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26 seq., within which trial must commence, the time period of May 16, 2013 to May 23, 2013 inclusive,
27 is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4] because it
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     results from a continuance granted by the Court at defendant’s request on the basis of the Court's
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     finding that the ends of justice served by taking such action outweigh the best interest of the public
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 3 and the defendant in a speedy trial.
 4          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 5 the Speedy Trial Act dictate that additional time periods are excludable from the period
 6
     within which a trial must commence.
 7
     IT IS SO STIPULATED.
 8

 9 DATED: 5/142013                                                /s/ Michele Beckwith
                                                                  MICHELE BECKWITH
10                                                                Assistant U.S. Attorney
11
     DATED: 5/14/2013                                             /s/ Philip Cozens
12                                                                PHILIP COZENS
                                                                  Counsel for Anatoliy Beknazarov
13
14
     DATED: 5/14/2013                                             /s/ Christopher Cosca
15                                                                CHIRSTOPHER COSCA
                                                                  Counsel for Valentina Beknazarov
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                                                   ORDER
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20          IT IS SO FOUND AND ORDERED. The status conference in this matter is hereby
21 Continued from May 16, 2013 to May 23, 2013 at 9:00 a.m. in Courtroom No. 7.
22 DATED: May 16, 2013
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                                            ___________________________________________
25                                          MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                            UNITED STATES DISTRICT COURT
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